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                        EXHIBIT 1
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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG            §                     MDL No. 2179
“DEEPWATER HORIZON” in the                 §
GULF OF MEXICO,                            §                      SECTION: J
on APRIL 20, 2010                          §
                                           §                   JUDGE BARBIER
           Applies to:                     §
                                           §               MAG. JUDGE SHUSHAN
    All Cases in Pleading Bundle B1;       §
                         No. 10-2771       §
________________________________

  HALLIBURTON'S SUR-REPLY TO BP'S RESPONSE TO HALLIBURTON'S
   REPLY IN SUPPORT OF ITS MOTION FOR LEAVE TO FILE SECOND
                    AMENDED CROSS-CLAIM

       Halliburton Energy Services, Inc. ("HESI") files this Sur-Reply to BP's Response

to Halliburton's Reply in Support of its Motion For Leave to File Second Amended

Cross-Claim, and would show the following:

      BP's Unfounded Speculation Does Not Support Denial of HESI's Motion

       BP alleges that HESI waited eight weeks from the deposition of Galina

Skripnikova to seek leave to amend its cross-claims, and, with no support, deduces that

the passage of time must have been because HESI has no evidence to support its claims.

BP Reply at p. 1. Of course, BP's unfounded speculation offers no support for this

contention, and is, in fact, directly controverted by HESI's Reply. (Doc. 4144-2). In fact,

HESI took the necessary time to assess its options in light of new, and quite frankly,

unexpected evidence that BP knew of a shallower hydrocarbon zone at the Macondo well

prior to the Incident but failed to disclose that knowledge to HESI. This Court should not

deny the Motion because HESI carefully considered what needed to be done before filing

an amended pleading.
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                   BP Mischaracterizes the Evidence Cited by HESI

        Initially, BP cites to the variety of post-Incident information that was available

regarding the M57B sands, while ignoring HESI's position that this evidence is irrelevant

to HESI's pre-Incident fraud claim because none of the cited evidence relates to BP's pre-

Incident knowledge of the hydrocarbon bearing nature of the shallower M57B sands. BP

Reply at pp. 2-3.     But more importantly, BP mischaracterizes the nature of the

Skripnikova deposition testimony by saying that since this is the only evidence HESI has

to support its claim, and since Skripnikova testified that her additional analysis was done

after the cement job was completed, there must be no basis for HESI's claim. BP Reply

at pp. 2-4.

        BP improperly conflates two separate and distinct arguments. HESI does rely

upon the Skripnikova deposition as the first evidence that BP had pre-Incident knowledge

of the shallower hydrocarbon bearing zone located at the M57B sands. However, HESI

has never represented that the Skripnikova deposition is the only evidence supporting its

claim. Indeed, in its Reply (Doc. 4144-2), HESI cited the Court to the deposition

testimony of Victor Emanuel stating that Schlumberger provided to BP as early as April

13–16 logging information that not only showed a crossover on the Triple Combo Log

indicating the presence of hydrocarbons in the M57B sands, but also actually flagged

those sands as "net pay sands" in a separate Laminated Sands analysis. Thus, while the

Skripnikova deposition may place the time of BP's knowledge as being pre-Incident but

post-cement job, other subsequent evidence opens the possibility that the information

was, in fact, known earlier. BP acknowledges this in its Reply when its states that "BP

continues to investigate the facts underlying the negligence claim, including when




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information was made available and when that information was reviewed." BP Reply at

pp. 2-3 n. 1 (citing to deposition testimony of Victor Emanueal).

       While the Skripnikova deposition provided the first indication that BP had pre-

Incident knowledge of the hydrocarbon bearing nature of the M57B sands, BP is

incorrect that HESI's entire fraud claim must be viewed only through that prism. The

evidence supports BP's pre-Incident knowledge of and failure to disclose the true nature

of the M57B sands, and this Court should grant HESI's Motion.

           HESI's Post-Incident Fraud Claim is Inextricably Linked to its
                            Pre-Incident Fraud Claim

       Finally, BP argues that because there was post-Incident information available

regarding the M57B sands, HESI's Motion is untimely. BP Reply at pp. 4-5. BP's

argument ignores at least two points. First, HESI's post-Incident fraud allegations, while

relating to BP's post-Incident actions, are nonetheless inextricably linked to its pre-

Incident knowledge of the true nature of the M57B sands because it is that knowledge

that serves as the genesis of the fraud. While BP's post-Incident actions may have

continued that fraud, those actions do not change the fact the HESI's first evidence of

BP's pre-Incident knowledge came from the Skripnikova deposition.

       Second, BP ignores the fact that HESI seeks to amend its cross-claims in both the

Limitation Action and the MDL proceeding. Even if HESI's post-Incident fraud claim is

deemed late in the Limitation Action, which HESI contests, it is not late filed in the MDL

proceeding which has no scheduling order for the filing of cross-claims. Since HESI's

post-Incident fraud claim asserts independent post-Incident damages against BP, even if

this Court disallows this cross-claim in the Limitation Action, it should be allowed as a

separate claim in the MDL proceeding.



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     Dated: October 5th, 2011

                                  Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Halliburton's Sur-Reply to BP's

Response to Halliburton's Reply In Support of its Motion for Leave to File Second

Amended Cross-Claim was filed electronically with the Clerk of the Eastern District of

Louisiana using the CM/ECF system, and that notice of this filing will be sent to all

counsel through the CM/ECF Notification System.

                                           /s/ Donald E. Godwin
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